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October 22, 2024
Via ECF
The Hon. District Judge Ann Donnelly
United States District Court for the
Eastern District of New York
225 Cadman Plaza East, Courtroom 4G
Brooklyn, NY 11201

               Re:     Request for Virtual Participation or Reschedule of Conference
                       SF Entities Inc. v. Gamburg, et al.
                       Case No. 1:23-cv-04881-AMD
Judge Donnelly:
I.     Introduction
               I have the honor to represent the Plaintiff in the matter of SF Entities Inc. v.
Gamburg, et al., Case No.1:23-cv-04881-AMD. By Scheduling Order dated October 21, 2024,
your Honor calendared a conference for December 19, 2024, which the Undersigned respectfully
asks be rescheduled or take place virtually or be rescheduled because of a prior commitment.

II.    Prior Commitment for Week of December 16-20
               The Undersigned, who works as a sole firm, represents the Plaintiff in the matter
of Williams v. Federal Gov’t of Nigeria, 1:23-cv-7356 (S.D.N.Y.). To preserve testimony and by
order of Court, the parties in that case will be conducting a three-day deposition in London (UK)
from December 17-19, 2024. The Undersigned can appear virtually at the scheduled conference,
but, unfortunately, will likely not be back in New York before that weekend. See Joint Letter to
Court Williams at ECF 42 (finalizing terms for the London deposition), a copy of which is attached.

III.   Conclusion
                 For the reasons described above, Plaintiff’s Counsel respectfully seeks to appear
virtually or to reschedule the December 19, 2024 hearing.


                                             RESPECTFULLY SUBMITTED,


                                             Baruch S. Gottesman, Esq
Served via ECF on all appearing parties
